Case 2:20-cv-11181-CAS-JPR Document 64 Filed 11/01/21 Page 1 of 2 Page ID #:1106




   1 RIMON, P.C.
     Mark Lee (SBN 94103)
   2 mark.lee@rimonlaw.com
     2029 Century Park East, Suite 400N
   3 Los Angeles, California 90067
     Telephone/Facsimile: 213.375.3811
   4
     RIMON, P.C.
   5 Zheng Liu (SBN: 229311)
     zheng.liu@rimonlaw.com
   6 800 Oak Grove Avenue, Suite 250
     Menlo Park, California 94025
   7 Telephone/Facsimile: 650.461.4433
   8 Attorneys for Defendants
     INTERFOCUS INC. d.b.a. www.patpat.com
   9
  10                       UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14                                              DEFENDANT AND
                  Plaintiff,                      COUNTERCLAIM PLAINTIFF
  15                                              INTERFOCUS, INC. D.B.A.
           v.                                     WWW.PATPAT.COM’S
  16                                              APPLICATION TO FILE UNDER
     INTERFOCUS, INC. d.b.a.                      SEAL DEPOSITION EXCERPTS
  17 www.patpat.com, a Delaware                   DESIGNATED CONFIDENTIAL
     Corporation; CAN WANG, and                   BY OPPOSING COUNSEL
  18 individual, and DOES 1-10, inclusive.,
                   Defendants.                    Date: December 6, 2021
  19                                              Time: 10:00 am
                                                  Courtroom: Courtroom 8D
  20
     INTERFOCUS, INC. d.b.a.                      The Hon. Christina A. Snyder
  21 www.patpat.com, a Delaware
     Corporation; CAN WANG, an
  22 individual, and DOES 1-10, inclusive,
  23               Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
  27
  28

         INTERFOCUS, INC.’S APPLICATION TO FILE UNDER SEAL DEPOSITION EXCERPTS DESIGNATED
                                 CONFIDENTIAL BY OPPOSING COUNSEL
Case 2:20-cv-11181-CAS-JPR Document 64 Filed 11/01/21 Page 2 of 2 Page ID #:1107




   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2        Please take notice that, under Local Rule 79-5.2.2(a), Defendant and
   3 Counterclaim Plaintiff InterFocus Inc., d.b.a. www.patpat.com. (“InterFocus”)
   4 respectfully applies to file under seal excerpts from the deposition of Yoel Neman
   5 that are attached as Exhibit 2 to the declaration of Mark S. Lee in support of
   6 InterFocus’ supplemental brief in support of its Motion for Summary Judgment and
   7 in opposition to Plaintiff’s Motion for Summary Judgment concurrently filed
   8 herewith. This application is made on the grounds that said testimony discusses
   9 business records Plaintiff designated as confidential pursuant to the Confidentiality
  10 Order this Court entered herein, as described at greater length in the concurrently
  11 filed Declaration of Mark S. Lee. A Proposed Order is also filed concurrently
  12 herewith.
  13                                           RIMON, P.C.
  14 Dated: November 1, 2021
  15                                       By: /s/ Mark S. Lee
  16                                           Mark S. Lee
                                               Zheng Liu
  17
                                               Attorneys for Defendants and
  18                                           Counterclaim Plaintiffs
  19                                           INTERFOCUS, INC. d.b.a.
                                               www.patpat.com
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                2
         INTERFOCUS, INC.’S APPLICATION TO FILE UNDER SEAL DEPOSITION EXCERPTS DESIGNATED
                                 CONFIDENTIAL BY OPPOSING COUNSEL
